                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  NORTHERN DIVISION

                                                   :
James Brackett,                                    :
                                                     Civil Action No.: 3:13-cv-00193
                                                   :
                    Plaintiff,                     :
                                                   :
                                                     COMPLAINT
        v.                                         :
                                                   :
Commercial Recovery Systems, Inc.; and             :
DOES 1-10, inclusive,                              :
                                                     JURY DEMAND
                                                   :
                    Defendants.                    :
                                                   :

        For this Complaint, the Plaintiff, James Brackett, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, James Brackett (“Plaintiff”), is an adult individual residing in

Kingston, Tennessee, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).




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       5.      Defendant Commercial Recovery Systems, Inc. (“Commercial”), is a Texas

business entity with an address of 8035 RL Thornton Freeway, Suite 220, Dallas, Texas 75228,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Commercial

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

       7.      Commercial at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Commercial for collection, or

Commercial was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Commercial Engages in Harassment and Abusive Tactics

       12.     In or around January 2013, Defendants placed a call to the home of Plaintiff’s

father in an attempt to collect the Debt.




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       13.       At such time, Plaintiff was visiting at his father’s home, so he was able to speak

with Defendants.

       14.       During such initial telephone communication, Plaintiff explained to Defendants

that his only source of income was from Social Security, and he could not afford to pay the Debt

to Defendants.

       15.       In response, Defendants threatened Plaintiff with legal action and immediate

garnishment of Plaintiff’s disability checks.

       16.       Defendants did not have the present intent to initiate legal action against Plaintiff

and did not have the legal ability to garnish any monies without first filing suit.

       17.       Furthermore, Defendants made several degrading and derogatory statements to

Plaintiff, including calling him a lazy bum, stating that he needed to learn to speak proper

English and stating that the Defendants were better than him.

       18.       These statements left the Plaintiff feeling humiliated and belittled.

       19.       Due to Defendants’ rude and aggressive tone, Plaintiff immediately terminated

the telephone call with Defendants.

       20.       Shortly thereafter, Defendants placed approximately six (6) successive calls to

Plaintiff’s father’s home telephone within a ten (10) minute period, for no other reason than to

harass and annoy Plaintiff.

       21.       Pursuant to the Tennessee Collection Service Act, “[n]o person shall commence,

conduct or operate any collection service business in this state unless the person holds a valid

collection service license issued by the [Collection Service] board under this chapter or prior

state law.” Tenn. Code Ann. §62-200-105(a).




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       22.     Defendant is a “collection service” as that term is defined by the Tennessee

Collection Service Act.

       23.     At all times relevant to this action, Defendant had not been issued – or even

applied for – a valid collection service license by the Tennessee Collection Service Board, which

is necessary for a collection service to legally collect debts in Tennessee.

       24.     By attempting to collect the Debt from Plaintiff without being licensed as a

collection service, Defendants took actions against Plaintiff they were not legally entitled to take.

   C. Plaintiff Suffered Actual Damages

       25.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       26.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

       27.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

                                             COUNT I

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.

       28.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       29.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

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       30.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

abusive language when speaking with the consumer.

       31.     The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading means in connection with the collection of a debt.

       32.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with garnishment if the debt was not paid.

       33.     The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

       34.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       35.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       36.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       37.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                             COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       38.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       39.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”


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       40.     Tennessee further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Tennessee state law.

       41.     Defendant intentionally intruded upon Plaintiff’s right to privacy by continually

harassing Plaintiff with successive phone calls to his father’s home.

       42.     The telephone calls made by Defendant to Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to his existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       43.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       44.     As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendant.

       45.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.

                                           COUNT III

  NEGLIGENT AND/OR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       46.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       47.     The acts, practices and conduct engaged in by the Defendant vis-à-vis the Plaintiff

was so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

decency, and to be regarded as atrocious, and utterly intolerable in a civilized community.




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       48.     The foregoing conduct constitutes the torts of negligent and/or intentional

infliction of emotional distress under the laws of the State of Tennessee.

       49.     All acts of Defendant and the Collectors complained of herein were committed

with wantonness and recklessness, and as such, Defendant is subject to imposition of punitive

damages.

       50.     Defendant could reasonably foresee its conduct would cause mental anguish and

severe emotional distress to Plaintiff.

       51.     Plaintiff did indeed suffer mental anguish and severe emotional distress including

post-traumatic stress, paranoia, and depression.

       52.     Defendant’s conduct resulted in negligent infliction of emotional distress under

the laws of the State of Tennessee.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendant;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                       1692k(a)(3) against Defendant;

                   4. Actual damages from Defendant for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy and negligent infliction of emotional distress in an amount to be

                       determined at trial for Plaintiff;


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                  5. Punitive damages; and

                  6. Such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: April 8, 2013

                                             Respectfully submitted,

                                             By /s/ Kenneth D. McLean

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